Case
Case1:25-cv-00240-ACR
     2:25-cv-00241-BHS   Document
                         Document72-85
                                  73-7   Filed
                                          Filed03/13/25
                                                03/07/25   Page
                                                           Page11of
                                                                  of28
                                                                     28




    EXHIBIT B
        Case
        Case1:25-cv-00240-ACR
             2:25-cv-00241-BHS          Document
                                        Document72-85
                                                 73-7        Filed
                                                              Filed03/13/25
                                                                    03/07/25    Page
                                                                                Page22of
                                                                                       of28
                                                                                          28




                             DOD INSTRUCTION 1332.30
     COMMISSIONED OFFICER ADMINISTRATIVE SEPARATIONS

Originating Component:       Office of the Under Secretary of Defense for Personnel and Readiness

Effective:                   May 11, 2018
Change 3 Effective:          September 9, 2021

Releasability:               Cleared for public release. Available on the Directives Division Website
                             at https://www.esd.whs.mil/DD/.

Reissues and Cancels:        DoD Instruction 1332.30, “Separation of Regular and Reserve
                             Commissioned Officers,” November 25, 2013

Approved by:                 Stephanie A. Barna, Performing the Duties of the Under Secretary of
                             Defense for Personnel and Readiness
Change 3 Approved by:        Gilbert R. Cisneros, Jr., Under Secretary of Defense for Personnel and
                             Readiness


Purpose: In accordance with the authority in DoD Directive 5124.02, this issuance:
• Establishes policy, assigns responsibilities, and prescribes procedures governing administrative
separation of Regular and Reserve commissioned officers.
•   Implements Sections 572(a)(2) and 578 of Public Law 112-239.
•   Implements Section 528 of Public Law 115-91.
       Case
       Case1:25-cv-00240-ACR
            2:25-cv-00241-BHS                          Document
                                                       Document72-85
                                                                73-7                  Filed
                                                                                       Filed03/13/25
                                                                                             03/07/25              Page
                                                                                                                   Page33of
                                                                                                                          of28
                                                                                                                             28

                                                                                                     DoDI 1332.30, May 11, 2018
                                                                                                     Change 3, September 9, 2021

                                                  TABLE OF CONTENTS
SECTION 1: GENERAL ISSUANCE INFORMATION .............................................................................. 4
   1.1 Applicability. ..................................................................................................................... 4
   1.2. Policy. ............................................................................................................................... 4
   1.3. Summary of Change 3. ..................................................................................................... 4
SECTION 2: RESPONSIBILITIES ......................................................................................................... 5
   2.1. Assistant Secretary of Defense for Manpower and Reserve Affairs. ............................... 5
   2.2. Secretaries of the Miltary Departments. ........................................................................... 5
   2.3. Secretaries of the Army and Air Force. ............................................................................ 5
SECTION 3: REASONS FOR SEPARATION .......................................................................................... 7
   3.1. Substandard Performance of Duty. ................................................................................... 7
   3.2. Acts of Misconduct or Moral or Professional Dereliction. ............................................... 7
   3.3. Retention Not Clearly Consistent with National Security Interests.................................. 7
   3.4. Sentence by Court-Martial and Dropping from the Rolls (DFR). .................................... 8
       a. Sentence by Court Martial. ............................................................................................ 8
       b. DFR. ............................................................................................................................... 8
   3.5. Multiple Reasons. ............................................................................................................. 9
   3.6. Separation Review Requirements. .................................................................................... 9
SECTION 4: PROCEDURES FOR NON-PROBATIONARY COMMISSIONED OFFICERS ........................... 10
   4.1. Initiation of Action.......................................................................................................... 10
   4.2. Show-Cause Authority (SCA). ....................................................................................... 10
   4.3. Board of Inquiry. ............................................................................................................. 10
   4.4. Retirement or Discharge. ................................................................................................ 12
   4.5. Application for Retirement or Discharge. ....................................................................... 13
   4.6. Limitations. ..................................................................................................................... 13
SECTION 5: BOARD OF INQUIRY PROCEDURES .............................................................................. 14
   5.1. Board Membership Challenges. ...................................................................................... 14
   5.2. Legal Advisor.................................................................................................................. 14
   5.3. Recorder. ......................................................................................................................... 14
   5.4. Rights of Respondent. ..................................................................................................... 14
   5.5. Board Determination....................................................................................................... 15
   5.6. Report of Proceedings. .................................................................................................... 16
SECTION 6: PROCEDURES FOR CERTAIN PROBATIONARY COMMISSIONED OFFICERS .................... 17
   6.1. Initiation of Action.......................................................................................................... 17
   6.2. Processing. ...................................................................................................................... 17
SECTION 7: CHARACTERIZATION OF SERVICE ............................................................................... 19
   7.1. Discharge for Substandard Performance of Duty. .......................................................... 19
   7.2. Discharge for Misconduct, Moral or Professional Dereliction, or in the Interest of
       National Security. ............................................................................................................. 19
   7.3. Dropped from the Rolls. ................................................................................................. 19
   7.4. Counseling on Rights and Benefits. ................................................................................ 19
SECTION 8: REVIEW REQUIREMENTS FOR UNRESTRICTED REPORT OF SEXUAL ASSAULT ............. 20
   8.1. Review. ........................................................................................................................... 20


TABLE OF CONTENTS                                                                                                                              2
       Case
       Case1:25-cv-00240-ACR
            2:25-cv-00241-BHS                          Document
                                                       Document72-85
                                                                73-7                  Filed
                                                                                       Filed03/13/25
                                                                                             03/07/25              Page
                                                                                                                   Page44of
                                                                                                                          of28
                                                                                                                             28

                                                                                                     DoDI 1332.30, May 11, 2018
                                                                                                     Change 3, September 9, 2021

   8.2. Processing. ...................................................................................................................... 20
SECTION 9: OTHER SEPARATION REVIEW REQUIREMENTS ............................................................ 21
   9.1. Additional Requirements for Pre-Separation Health Assessments. ................................ 21
   9.2. Mental Health Conditions and Circumstances. ............................................................... 22
GLOSSARY ..................................................................................................................................... 24
   G.1. Acronyms. ...................................................................................................................... 24
   G.2. Definitions...................................................................................................................... 24
REFERENCES .................................................................................................................................. 27




TABLE OF CONTENTS                                                                                                                              3
     Case
     Case1:25-cv-00240-ACR
          2:25-cv-00241-BHS           Document
                                      Document72-85
                                               73-7         Filed
                                                             Filed03/13/25
                                                                   03/07/25     Page
                                                                                Page55of
                                                                                       of28
                                                                                          28

                                                                      DoDI 1332.30, May 11, 2018
                                                                      Change 3, September 9, 2021

               SECTION 1: GENERAL ISSUANCE INFORMATION

1.1 APPLICABILITY.

    a. This issuance applies to OSD, the Military Departments, the Office of the Chairman of the
Joint Chiefs of Staff and the Joint Staff, the Combatant Commands, the Office of Inspector
General of the Department of Defense, the Defense Agencies, the DoD Field Activities, and all
other organizational entities within the DoD.

   b. This issuance applies to commissioned officers as defined in the Glossary. That definition
does not include commissioned warrant officers or retired commissioned officers.


1.2. POLICY.

   a. DoD will:

      (1) Promote the readiness of the Military Services by maintaining high standards of
conduct and performance.

         (2) Judge the suitability of persons for military service based on their conduct and their
ability to meet required standards of duty, performance, and discipline.

       (3) Separate from military service those commissioned officers who will not or cannot:

           (a) Meet rigorous and necessary standards of duty, performance, and discipline.

            (b) Maintain those high standards of performance and conduct through appropriate
actions that sustain the traditional concept of honorable military service.

           (c) Exercise the responsibility, fidelity, integrity, or competence required of them.

    b. Commissioned officers of the Army National Guard of the United States or the Air
National Guard of the United States not on active duty, including officers released from active
duty for cause and returned to the control of the State, are subject to withdrawal of Federal
recognition in accordance with Section 323 of Title 32, United States Code (U.S.C.).

   c. Any commissioned officer convicted of an offense found in Article 120, Uniform Code of
Military Justice (Section 920 of Title 10 U.S.C), who is not punitively discharged for such a
conviction will be processed for administrative separation once the conviction is final, in
accordance with Section 572(a)(2) of Public Law 112-239.


1.3. SUMMARY OF CHANGE 3. The administrative change to this issuance removes
separation language based on gender dysphoria pursuant to DoD Instruction 1300.28.




SECTION 1: GENERAL ISSUANCE INFORMATION                                                               4
     Case
     Case1:25-cv-00240-ACR
          2:25-cv-00241-BHS          Document
                                     Document72-85
                                              73-7        Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page66of
                                                                                     of28
                                                                                        28

                                                                    DoDI 1332.30, May 11, 2018
                                                                    Change 3, September 9, 2021

                           SECTION 2: RESPONSIBILITIES

2.1. ASSISTANT SECRETARY OF DEFENSE FOR MANPOWER AND RESERVE
AFFAIRS. Under the authority, direction, and control of the Under Secretary of Defense for
Personnel and Readiness, the Assistant Secretary of Defense for Manpower and Reserve Affairs
provides guidance for the administration of this issuance and interprets its provisions when
requested to do so by representatives of the Military Departments or others outside the DoD.


2.2. SECRETARIES OF THE MILTARY DEPARTMENTS. The Secretaries of the
Military Departments:

   a. Administer Service commissioned officer separation programs consistent with Sections
1181 and 14902 of Title 10, U.S.C., and this issuance.

   b. Prescribe regulations that:

       (1) Are consistent with the policy and procedures established in this issuance.

       (2) Comply with Section 572(a)(2) of Public Law 112-239.

       (3) Comply with Section 578 of Public Law 112-239, as described in Section 8 of this
issuance.

    c. May discharge from military service officers on the Active Duty List (ADL) and the
Reserve Active Status List (RASL) who have fewer than 6 years commissioned service when
there is a need to reduce the number of officers in that Military Service to meet budgetary or
force size requirements, in accordance with Sections 630(1)(A) and 14503(a)(1) of Title 10,
U.S.C. When using this authority, the procedures in Section 7 for discharging probationary
officers do not apply.

    d. Submit recommendations for changes in this issuance to the Under Secretary of Defense
for Personnel and Readiness.


2.3. SECRETARIES OF THE ARMY AND AIR FORCE. In addition to the responsibilities
in Paragraph 2.2., the Secretaries of the Army and the Air Force will prescribe regulations
implementing Section 323 of Title 32, U.S.C.

    a. All officers considered for withdrawal of Federal recognition in accordance with Section
323 of Title 32, U.S.C., will receive an efficiency board review to determine general fitness of
the officer for continued Federal recognition.

    b. In accordance with Section 14907(b) of Title 10, U.S.C., an officer of the Army National
Guard of the United States or the Air National Guard of the United States whose Federal
recognition as an officer of the National Guard is withdrawn in accordance with Section 323(b)



SECTION 2: RESPONSIBILITIES                                                                        5
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS          Document
                                    Document72-85
                                             73-7         Filed
                                                           Filed03/13/25
                                                                 03/07/25    Page
                                                                             Page77of
                                                                                    of28
                                                                                       28

                                                                   DoDI 1332.30, May 11, 2018
                                                                   Change 3, September 9, 2021

of Title 32, U.S.C., will be discharged from appointment as a Reserve officer of the Army or the
Air Force, as applicable.




SECTION 2: RESPONSIBILITIES                                                                    6
     Case
     Case1:25-cv-00240-ACR
          2:25-cv-00241-BHS          Document
                                     Document72-85
                                              73-7         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page88of
                                                                                      of28
                                                                                         28

                                                                     DoDI 1332.30, May 11, 2018
                                                                     Change 3, September 9, 2021

                     SECTION 3: REASONS FOR SEPARATION

3.1. SUBSTANDARD PERFORMANCE OF DUTY. A commissioned officer may be
separated from a Military Service, in accordance with regulations prescribed by the Secretary of
the Military Department concerned, when found to be substandard in:

   a. Performance of duty, including leadership.

   b. Efficiency.

   c. Response to training in the officer’s assigned specialty.

   d. Attitude or character.

   e. Maintenance of satisfactory progress while in an active duty status skills awarding
program.


3.2. ACTS OF MISCONDUCT OR MORAL OR PROFESSIONAL DERELICTION. A
commissioned officer may be separated from a Military Service, in accordance with regulations
prescribed by the Secretary of the Military Department concerned, when found to have
committed an act or acts of misconduct or moral or professional dereliction, which include (but
are not limited to):

   a. Serious or recurring misconduct, punishable by military or civilian authorities.

    b. Discreditable mismanagement, whether intentional or not, of personal affairs, including
financial affairs.

   c. Substance or drug misuse.

   d. Culpable failure to perform assigned duties or to complete required training.

    e. Culpable loss or compromise of professional status; qualifications or licensure; or
certification required for performance of military duties.

    f. Intentional misrepresentation of facts in obtaining an appointment or in official statements
or records.

    g. Final conviction for rape or sexual assault, forcible sodomy, or an attempt to commit one
of those offenses.


3.3. RETENTION NOT CLEARLY CONSISTENT WITH NATIONAL SECURITY
INTERESTS. In accordance with DoD Manual 5200.02, a commissioned officer may be
separated from military service when it is determined that the commissioned officer’s retention is
not clearly consistent with the interest of national security.


SECTION 3: REASONS FOR SEPARATION                                                                  7
     Case
     Case1:25-cv-00240-ACR
          2:25-cv-00241-BHS          Document
                                     Document72-85
                                              73-7        Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page99of
                                                                                     of28
                                                                                        28

                                                                    DoDI 1332.30, May 11, 2018
                                                                    Change 3, September 9, 2021

3.4. SENTENCE BY COURT-MARTIAL AND DROPPING FROM THE ROLLS (DFR).

    a. Sentence by Court Martial. A commissioned officer sentenced by a court-martial to a
period of confinement for more than 6 months may be separated from military service, in
accordance with Sections 1167 and 12687 of Title 10, U.S.C. Separation from military service
may occur at any time after the sentence to confinement has become final, and the person has
served in confinement for a period of 6 months, in accordance with Chapter 47 of Title 10,
U.S.C. (also known and referred to in this issuance as the “Uniform Code of Military Justice”.)

   b. DFR.

       (1) General Policy.

           (a) Any Regular commissioned officer and any Reserve commissioned officer, may
be dropped from the rolls of the Military Service concerned when any of the following criteria in
Sections 1161(b) and 12684 of Title 10, U.S.C. are met:

              1. The officer may be separated from the Military Service concerned in
accordance with Paragraph 3.4.a.;

               2. The officer has been absent without authority for at least 3 months; or

                3. The officer was sentenced to confinement in a Federal or State penitentiary or
correctional institution after being found guilty of an offense by a court, other than a military
court, and whose sentence is final.

            (b) DFR requests should be made only in cases where severing all of an officer’s ties
with his or her Military Service and the loss of retirement eligibility are warranted.

       (2) Approval Authority.

           (a) Regular Officers. The President is the approval authority for DFR requests for
Regular officers in a grade above O-3. The Secretary of Defense is the approval authority for
DFR requests for all other Regular officers.

           (b) Reserve Officers. The President is the approval authority for DFR requests for
Reserve officers in a grade above O-5. The Secretary of Defense is the approval authority for
DFR requests for all other Reserve officers.

       (3) Procedures.

            (a) The Secretary of the Military Department concerned will endorse a DFR package
routed for approval.

         (b) Once approved by the appropriate authority, the Secretary of the Military
Department concerned will:




SECTION 3: REASONS FOR SEPARATION                                                                   8
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS          Document
                                    Document72-85
                                             73-7         Filed
                                                           Filed03/13/25
                                                                 03/07/25    Page
                                                                             Page10
                                                                                  10of
                                                                                     of28
                                                                                        28

                                                                    DoDI 1332.30, May 11, 2018
                                                                    Change 3, September 9, 2021

                1. In the case of an officer on the ADL or RASL, issue a DD Form 214 in
accordance with Paragraph 7.3. of this issuance and DoD Instruction 1336.01. Block 18 will
contain the entry “Dropped from the Rolls by the President of the United States” or “Dropped
from the rolls by the Secretary of Defense,” as appropriate. The characterization of service in
Block 24 will be “Uncharacterized.”

               2. Remove the name of the officer from the ADL, RASL, as applicable.

              3. Remove the officer from the Defense Finance and Accounting Service system
and any associated pay databases.

               4. Remove the officer from the Defense Enrollment Eligibility Reporting System.


3.5. MULTIPLE REASONS. A commissioned officer may be considered for separation for
more than one of the reasons described in this section. Separate findings under each applicable
paragraph will be required for each separation basis identified.


3.6. SEPARATION REVIEW REQUIREMENTS. Before a commissioned officer may be
separated under the provisions of Paragraph 3.2., the Military Service must ensure compliance
with the review requirements in Paragraph 9.1. of this issuance.




SECTION 3: REASONS FOR SEPARATION                                                                 9
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7         Filed
                                                            Filed03/13/25
                                                                  03/07/25      Page
                                                                                Page11
                                                                                     11of
                                                                                        of28
                                                                                           28

                                                                      DoDI 1332.30, May 11, 2018
                                                                      Change 3, September 9, 2021

SECTION 4: PROCEDURES FOR NON-PROBATIONARY COMMISSIONED
                        OFFICERS

4.1. INITIATION OF ACTION. The Secretaries of the Military Departments will prescribe
procedures for the initiation of separation recommendations for non-probationary commissioned
officers.


4.2. SHOW-CAUSE AUTHORITY (SCA).

    a. The SCA will determine whether an officer is required to show cause for retention in
military service for one or more of the reasons listed in Section 3 of this issuance, and as further
defined by the Secretary of the Military Department concerned.

   b. The SCA will:

       (1) Evaluate all Service information about the case under consideration.

        (2) Determine if the record is sufficient to require the officer to show cause for retention
in military service.

           (a) If the officer is not required to show cause, close the case.

           (b) If the officer is required to show cause, the SCA:

               1. Refers the case to a Board of Inquiry.

               2. Provides the reasons for making the show-cause determination to the officer in
writing.

       (3) Consider the initiation of a separation action if the record supports a finding of drug
misuse in accordance with Section 3.

    c. In accordance with Sections 618(c)(2) or 14109(c) of Title 10, U.S.C., the Secretary of the
Military Department concerned may require an officer to show cause for retention on active duty
or in an active status based on the recommendation of a promotion selection board.

   d. The SCA will appoint members of Boards of Inquiry, unless his or her Departmental
regulations reserve that authority to another official.


4.3. BOARD OF INQUIRY.

    a. Function. A Board of Inquiry is an administrative board that considers all relevant and
material evidence about the case and functions in accordance with rules and procedures
established by this instruction and the Secretary of the Military Department concerned.



SECTION 4: PROCEDURES FOR NON-PROBATIONARY COMMISSIONED OFFICERS                                  10
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7        Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page12
                                                                                   12of
                                                                                      of28
                                                                                         28

                                                                     DoDI 1332.30, May 11, 2018
                                                                     Change 3, September 9, 2021

        (1) The Board of Inquiry will give a fair and impartial hearing to an officer required by
the Secretary of the Military Department concerned to show cause for retention on active duty or
in an active status.

         (2) The Board of Inquiry makes findings on each reason for separation and recommends
if a respondent should be retained in the military service. The board recommends the
characterization of service, in accordance with this instruction and regulations prescribed by the
Secretary of the Military Department concerned, if it recommends discharge.

       (3) The Board of Inquiry’s findings must be supported by a preponderance of the
evidence.

          (a) An officer is given the opportunity to respond and rebut the basis for
contemplated separation in a hearing before a Board of Inquiry once they are informed of the
pending separation.

          (b) The hearing provides a forum for the officer concerned to present reasons the
contemplated action should not be taken.

   b. Composition.

       (1) Each board convened will be composed of at least three commissioned officers, each
with the qualifications prescribed in Paragraph 4.3.c.

        (2) If the respondent is a Reserve Component officer, one or more of the voting members
will be a Reserve Component officer, preferably of the same component. This requirement
cannot be waived by the respondent.

       (3) The senior member will be the president of the board.

       (4) A nonvoting legal advisor may also be appointed to assist the Board of Inquiry.

   c. Officers Eligible to Serve on Boards.

       (1) Each commissioned officer who serves on a board must be an officer on the ADL or
on the RASL of the same Military Service as the respondent.

       (2) A commissioned officer may not serve on a board unless they are:

        (a) On active duty or in an active status in a grade above major or lieutenant
commander.

           (b) Senior in grade to any respondent being considered by the board.

     (3) At least one member of the board will be in a grade above lieutenant colonel or
commander.




SECTION 4: PROCEDURES FOR NON-PROBATIONARY COMMISSIONED OFFICERS                                11
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page13
                                                                                    13of
                                                                                       of28
                                                                                          28

                                                                      DoDI 1332.30, May 11, 2018
                                                                      Change 3, September 9, 2021

        (4) If qualified commissioned officers from the ADL or from the RASL are not available
in sufficient numbers to comprise a Board of Inquiry, the Secretary of the Military Department
concerned will appoint retired Regular or Reserve commissioned officers of the same Military
Service. The retired grade of these officers must:

           (a) Be above the grade of major or lieutenant commander; or

            (b) In the case of an officer who will be the senior officer of the board, above the
grade of lieutenant colonel or commander; and

           (c) Senior in grade to the respondent being considered by the board.

        (5) A retired general or flag officer (GO/FO) who is on active duty solely for the purpose
of serving on a board will not be counted against any limitations on the number of GO/FOs who
may be on active duty.

       (6) An individual cannot be a member of more than one board convened pursuant to this
issuance to consider the same respondent.

    d. Convening. A Board of Inquiry will convene in accordance with the regulations
prescribed by the Secretary of the Military Department concerned.

    e. Determinations. Following the board procedure, the Board of Inquiry will make a
recommendation in writing to the Secretary of the Military Department concerned.

        (1) If a Board of Inquiry determines that the officer established that they should be
retained on active duty or in an active status, the initiating SCA will close the case.

        (2) If a Board of Inquiry determines that an officer failed to establish that they should be
retained on active duty or in an active status, the SCA forwards the case and its recommendation
regarding characterization of service to the Secretary of the Military Department concerned in
accordance with the Departmental regulations.


4.4. RETIREMENT OR DISCHARGE.

    a. Retirement. A commissioned officer separated from active duty or from an active status
in accordance with this issuance who is eligible for voluntary retirement under any law on the
date of separation may request retirement and be retired in the grade and with the retired pay for
which the officer is eligible if retired under such provision.

    b. Discharge. A commissioned officer separated from military service in accordance with
this issuance who is not eligible for retirement under any law on the date of such separation will
be discharged:

       (1) In the grade then held with an honorable or general (under honorable conditions)
characterization of service if separated only for substandard performance of duty; or



SECTION 4: PROCEDURES FOR NON-PROBATIONARY COMMISSIONED OFFICERS                                   12
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page14
                                                                                    14of
                                                                                       of28
                                                                                          28

                                                                     DoDI 1332.30, May 11, 2018
                                                                     Change 3, September 9, 2021

        (2) In the grade then held with a characterization of service determined by the Secretary
of the Military Department concerned, but no less favorable that that recommended by the board
of Inquiry, if separated for misconduct, moral or professional dereliction, or in the interest of
national security.


4.5. APPLICATION FOR RETIREMENT OR DISCHARGE.

   a. At any time before final action in the case, the Secretary of the Military Department
concerned may grant a request by the commissioned officer concerned for:

       (1) Voluntary retirement.

       (2) Transfer to the Retired Reserve when the officer is a reservist.

       (3) Discharge.

   b. This action of the Secretary of the Military Department concerned is final.


4.6. LIMITATIONS.

    a. A commissioned officer who is required to show cause for retention in military service
because of substandard performance of duty and is retained on active duty or in an active status
by a Board of Inquiry may not again be required to show cause for retention for the same reasons
within the one-year period beginning on the date of the determination to retain.

    b. Subject to Paragraph 4.6.c., a commissioned officer required to show cause for retention
in military service because of misconduct, moral or professional dereliction, or in the interest of
national security, and who is retained on active duty or in an active status by a Board of Inquiry,
may again be required to show cause for retention at any time.

    c. A commissioned officer may not again be required to show cause for retention in military
service solely because of conduct that was the subject of previous proceedings, unless the
findings and recommendations of the Board of Inquiry that considered the case are determined to
have been the result of fraud or collusion. Nothing in this paragraph will prohibit the SCA from
reconvening a defective Board of Inquiry prior to final action.

   d. An acquittal or a not-guilty finding in a civilian or military criminal proceeding,
conviction and punishment by a civilian or military court, or military nonjudicial punishment in
accordance with Article 15 of the Uniform Code of Military Justice, do not preclude an
administrative discharge action.




SECTION 4: PROCEDURES FOR NON-PROBATIONARY COMMISSIONED OFFICERS                                 13
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page15
                                                                                    15of
                                                                                       of28
                                                                                          28

                                                                      DoDI 1332.30, May 11, 2018
                                                                      Change 3, September 9, 2021

                 SECTION 5: BOARD OF INQUIRY PROCEDURES

5.1. BOARD MEMBERSHIP CHALLENGES. In accordance with regulations prescribed by
the Secretary of the Military Department concerned, board members are subject to challenge for
cause only. If the membership of the board is reduced to less than three officers, the Board of
Inquiry convening authority will appoint additional members.


5.2. LEGAL ADVISOR. The legal advisor, if appointed, performs such functions as the
Secretary of the Military Department concerned may prescribe, except that they cannot dismiss
any allegation against the respondent or terminate the proceedings.


5.3. RECORDER. The government may be represented before the board by a recorder whose
duties will be prescribed by the Secretary of the Military Department concerned.


5.4. RIGHTS OF RESPONDENT.

    a. When a case is referred to a Board of Inquiry, the respondent must be notified at least
30 days before the hearing in writing.

        (1) The notification will include the reasons for which they are required to show cause
for retention in the Military Service and of the least favorable characterization of discharge for
which the officer may be recommended.

       (2) Respondent will be notified by personal service with written receipt by the
respondent (or duly witnessed by a third party, if the respondent refuses to acknowledge receipt).

       (3) When personal service is unavailable, respondent will be notified by:

           (a) Registered or certified mail or electronic mail equivalent. A return receipt, or
equivalent, will be requested.

           (b) Notification is sent to the respondent’s last known address, or to the next of kin
under regulations prescribed by the Military Department concerned.

    b. The respondent will respond within the timeframe given by the Board of Inquiry. Failure
to respond within the timeframe given may be construed as the respondent voluntarily electing
not to appear before the board.

   c. The respondent may appear in person at all proceedings of the Board of Inquiry.

   d. The respondent may be represented either by:

       (1) Military counsel appointed by the convening authority; or



SECTION 5: BOARD OF INQUIRY PROCEDURES                                                               14
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7        Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page16
                                                                                   16of
                                                                                      of28
                                                                                         28

                                                                     DoDI 1332.30, May 11, 2018
                                                                     Change 3, September 9, 2021

       (2) Military counsel of the respondent’s own choice, (if the counsel of choice is
determined to be reasonably available under regulations prescribed by the Secretary of the
Military Department concerned); or

        (3) Civilian counsel without expense to the government. If civilian counsel is employed,
military counsel need not be assigned, if so provided by the regulations of the Secretary of the
Military Department concerned.

    e. In accordance with regulations prescribed by the Secretary of the Military Department
concerned, the respondent will be allowed full access to, and given copies of, records that are
determined to be relevant to the case pursuant to such regulations.

      (1) The Board of Inquiry may withhold any records that the Secretary of the Military
Department concerned determines should be withheld in the interest of national security.

      (2) When any records are withheld, the respondent will receive, to the extent practicable,
a summary of the records withheld.

   f. The respondent may request any witness appear before the board of whose testimony is
considered pertinent to their case.

       (1) A determination on the availability of the witness, witness appearance requirements,
and the materiality of the witness are made in accordance with regulations of the Secretary of the
Military Department concerned.

      (2) Witnesses not on active duty must appear voluntarily and at no expense to the
government, unless otherwise authorized by the Secretary of the Military Department concerned.

   g. The respondent may submit documents from his or her record of service, letters, answers,
depositions, sworn or unsworn statements, affidavits, certificates, or stipulations at any time
before the board convenes or during the proceedings, subject to regulations prescribed by the
Secretary of the Military Department concerned. Those documents may include depositions of
witnesses not deemed to be reasonably available or of witnesses unwilling to appear voluntarily.

   h. The respondent may testify in their behalf subject to Section 831 of Title 10, U.S.C.

   i. The respondent and their counsel may question any witness who appears before the board.

   j. The respondent or counsel for the respondent may present oral or written argument to the
board.

   k. The respondent may request a continuance, in accordance with his or her Military
Departmental regulations, for the preparation of their case before the board, when necessary.


5.5. BOARD DETERMINATION. The Board of Inquiry will decide retention or separation
on the evidence received or developed during open hearings. Voting will be conducted in closed



SECTION 5: BOARD OF INQUIRY PROCEDURES                                                            15
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS          Document
                                    Document72-85
                                             73-7        Filed
                                                          Filed03/13/25
                                                                03/07/25    Page
                                                                            Page17
                                                                                 17of
                                                                                    of28
                                                                                       28

                                                                   DoDI 1332.30, May 11, 2018
                                                                   Change 3, September 9, 2021

session with only voting board members in attendance. All findings and recommendations will
be determined by a majority vote.


5.6. REPORT OF PROCEEDINGS. The record of proceedings will be kept in summarized
form unless a verbatim record is required by the SCA or the Secretary of the Military
Department concerned.

    a. In all cases, board findings and recommendations must be stated in clear and concise
language and signed by all board members concurring.

    b. Any board members who disagree with the board’s findings or recommendations may file
a statement of non-concurrence, including their reasons, for inclusion in the record.

    c. The respondent will be given a copy of the report of the proceedings and the board’s
findings and recommendations. The respondent will have an opportunity to submit written
comments to the SCA for consideration.

    d. When the Board of Inquiry determines retention in military service is warranted and the
case is closed, a summarized report of the proceedings will be prepared in accordance with the
regulations of the Military Department concerned.




SECTION 5: BOARD OF INQUIRY PROCEDURES                                                           16
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7        Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page18
                                                                                   18of
                                                                                      of28
                                                                                         28

                                                                     DoDI 1332.30, May 11, 2018
                                                                     Change 3, September 9, 2021

        SECTION 6: PROCEDURES FOR CERTAIN PROBATIONARY
                     COMMISSIONED OFFICERS

6.1. INITIATION OF ACTION.

    a. If the SCA determines that an honorable or general characterization of service is
appropriate, the SCA may initiate separation action without a Board of Inquiry (subject to the
regulations of the Military Department concerned) for any of the reasons stated in Section 3, or
for reasons that the Secretary of the Military Department concerned may prescribe by regulation.
In such cases, the respondent will be advised in writing:

       (1) The reason separation action was initiated and the characterization of service
(honorable or general) recommended.

       (2) That they may tender a resignation.

      (3) That they may submit or decline to submit a rebuttal statement, or other matters for
the SCA to consider instead of a resignation.

       (4) That they may confer with appointed or retained counsel. The officer will be given a
reasonable period of time to prepare their response.

   b. If the SCA deems that an other than honorable discharge may be appropriate, the SCA
may refer the case directly to a Board of Inquiry.


6.2. PROCESSING.

    a. In cases in which the SCA recommends an honorable or general characterization of
service, the recommendation for separation, supporting documentation, respondent’s rebuttal
statement (if submitted), and any resignation (if tendered) will be forwarded to the Secretary of
the Military Department concerned. The Secretary will:

       (1) Accept the resignation (if tendered);

       (2) Deny the resignation (if tendered) and discharge the respondent with an honorable or
general characterization of service;

       (3) Deny the resignation (if tendered) and refer the case to a Board of Inquiry if the
Secretary decides that an other than honorable characterization of service is appropriate; or

       (4) Retain the respondent.

   b. Cases referred to a Board of Inquiry by the SCA or the Secretary of the Military
Department concerned will be processed in accordance with Section 4 and Section 5, when
applicable.



SECTION 6: PROCEDURES FOR CERTAIN PROBATIONARY COMMISSIONED OFFICERS                             17
   Case
   Case1:25-cv-00240-ACR
        2:25-cv-00241-BHS           Document
                                    Document72-85
                                             73-7         Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page19
                                                                                   19of
                                                                                      of28
                                                                                         28

                                                                     DoDI 1332.30, May 11, 2018
                                                                     Change 3, September 9, 2021

   c. In all cases, the action of the Secretary of the Military Department concerned is final.




SECTION 6: PROCEDURES FOR CERTAIN PROBATIONARY COMMISSIONED OFFICERS                             18
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page20
                                                                                    20of
                                                                                       of28
                                                                                          28

                                                                     DoDI 1332.30, May 11, 2018
                                                                     Change 3, September 9, 2021

                SECTION 7: CHARACTERIZATION OF SERVICE

7.1. DISCHARGE FOR SUBSTANDARD PERFORMANCE OF DUTY. The
characterization of service will be honorable or general (under honorable conditions) when
substandard performance of duty is the sole basis for the discharge.


7.2. DISCHARGE FOR MISCONDUCT, MORAL OR PROFESSIONAL
DERELICTION, OR IN THE INTEREST OF NATIONAL SECURITY. The
characterization of service will be honorable, general (under honorable conditions), or under
other than honorable conditions.

    a. Consideration. The characterization of service is predicated on the commissioned
officer’s behavior and performance of duty while a member of a Military Service.

        (1) The characterization of service will normally be based on a pattern of behavior and
an officer’s entire duty performance rather than an isolated incident.

       (2) There are limited circumstances in which conduct reflected by a single incident may
provide the basis for the characterization of service.

    b. Exceptions. The characterization of service will be honorable when the grounds for
discharge are based solely on pre-service activities, other than intentional misrepresentation or
omission of facts in obtaining an appointment or in official statements or records.


7.3. DROPPED FROM THE ROLLS. A commissioned officer who is dropped from the rolls
of the military service in accordance with Section 1161 or 12684 of Title 10, U.S.C., and this
issuance will receive an uncharacterized characterization of service in DD-214, Block 24.


7.4. COUNSELING ON RIGHTS AND BENEFITS. In all instances, officers will be
counseled as to the impact of the characterization of their service on rights and benefits,
including civilian employment and veterans’ benefits. All officers being separated from the
military with an other than honorable discharge will be informed, in writing, that they may
petition the Veterans Benefits Administration of the Department of Veterans Affairs to receive,
despite the characterization of their service, certain benefits under the laws administered by the
Secretary of Veterans Affairs. This written notification will be provided in conjunction with
notification of the administrative separation or as soon thereafter as practicable.




SECTION 7: CHARACTERIZATION OF SERVICE                                                              19
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page21
                                                                                    21of
                                                                                       of28
                                                                                          28

                                                                      DoDI 1332.30, May 11, 2018
                                                                      Change 3, September 9, 2021

 SECTION 8: REVIEW REQUIREMENTS FOR UNRESTRICTED REPORT
                    OF SEXUAL ASSAULT

8.1. REVIEW.

    a. A commissioned officer may request GO/FO review of the circumstances of and grounds
for an involuntary separation if:

      (1) They made an unrestricted report of sexual assault, in accordance with Volume 1 of
DoD Instruction 6495.02.

        (2) They is recommended for involuntary separation from military service within 1 year
of final disposition of his or her sexual assault case.

    b. This review requirement expands the requirement of Section 578 of Public Law 112-239
to ensure that an involuntary separation is not initiated in retaliation for making an unrestricted
report of sexual assault.


8.2. PROCESSING.

    a. A commissioned officer who meets the requirements of Paragraph 8.1.a. must submit their
written request to the first GO/FO in the officer’s chain of command before approval of final
separation action.

    b. A request submitted after final separation action is complete will not be considered, but
the separated commissioned officer may apply to the appropriate Military Department Discharge
Review Board or Board for Correction of Military or Naval Records for consideration.

    c. A commissioned officer who meets the requirements of Paragraph 8.1.a. and who submits
a timely request may not be separated until the GO/FO conducts a review and concurs with the
circumstances and grounds for the involuntary separation.




SECTION 8: REVIEW REQUIREMENTS FOR UNRESTRICTED REPORT OF SEXUAL ASSAULT                          20
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7        Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page22
                                                                                   22of
                                                                                      of28
                                                                                         28

                                                                     DoDI 1332.30, May 11, 2018
                                                                     Change 3, September 9, 2021

       SECTION 9: OTHER SEPARATION REVIEW REQUIREMENTS

9.1. ADDITIONAL REQUIREMENTS FOR PRE-SEPARATION HEALTH
ASSESSMENTS.

    a. The Secretary of the Military Department concerned will prescribe procedures to comply
with statutory requirements and conduct a health assessment sufficient to evaluate the health of
commissioned officers at the time of separation, in accordance with Sections 1145 and 1177 of
Title 10, U.S.C.

    b. The health assessment should determine any existing medical condition incurred during
active duty, provide baseline information for future care, complete an officer’s military medical
record, and provide a final opportunity before separation to document any health concerns,
exposures, or risk factors associated with active duty.

        (1) A commissioned officer must receive a medical examination to determine if the
effects of post-traumatic stress disorder (PTSD) or traumatic brain injury (TBI) could be related
to the basis for involuntary separation in order to comply with Section 1177 of Title 10, U.S.C.
The assessment will occur if the officer:

           (a) Is separated under a characterization that is not either honorable or general (under
honorable conditions).

           (b) Was deployed overseas to a contingency operation or was sexually assaulted
during the previous 24 months.

           (c) Is diagnosed by a physician, clinical psychologist, psychiatrist, licensed clinical
social worker, or psychiatric advanced practice registered nurse as experiencing PTSD or TBI, or
reasonably alleges the influence of PTSD or TBI based on deployed service to a contingency
operation or sexual assault during the previous 24 months.

            (d) Is not separated by a court-martial or other Uniform Code of Military Justice
proceeding. Separation in lieu of court-martial does not constitute a court-martial or other
Uniform Code of Military Justice proceeding, and therefore, compliance with Section 1177 of
Title 10, U.S.C., is required.

        (2) In a case involving PTSD, the required medical examination will be performed by a
clinical psychologist, psychiatrist, licensed clinical social worker, or psychiatric advanced
practice registered nurse.

        (3) In a case involving TBI, the medical examination may be performed by a physician,
clinical psychologist, psychiatrist, or other health-care professional, as appropriate.

   c. A commissioned officer receiving a medical examination for PTSD or a TBI will not be
separated until the result of the medical examination is reviewed by the individuals responsible




SECTION 9: OTHER SEPARATION REVIEW REQUIREMENTS                                                 21
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page23
                                                                                    23of
                                                                                       of28
                                                                                          28

                                                                     DoDI 1332.30, May 11, 2018
                                                                     Change 3, September 9, 2021

for evaluating, reviewing, and approving the separation case, as determined by the Secretary of
the Military Department concerned.


9.2. MENTAL HEALTH CONDITIONS AND CIRCUMSTANCES.

    a. The Secretary of the Military Department concerned may authorize separation of a
commissioned officer on the basis of conditions and circumstances not constituting a physical
disability that interfere with assignment to or performance of duty. Separation processing will
not be initiated until the commissioned officer:

        (1) Is formally counseled on their deficiencies and given an opportunity to correct those
deficiencies.

       (2) Is counseled in writing that the condition does not qualify as a disability.

    b. The Secretary of the Military Department concerned may not authorize involuntary
separation based on a determination that the member is unsuitable for deployment or worldwide
assignment because of a medical condition if a physical evaluation board determined the member
to be fit for duty for the same medical condition. The only exception is if the separation is
approved by the Secretary of Defense.

        (1) If the Secretary of the Military Department concerned has reason to believe the
medical condition considered by the physical evaluation board renders the officer unsuitable for
continued military service, that Secretary may direct the physical evaluation board to reevaluate
the officer.

        (2) If, based on reevaluation by a physical evaluation board, a commissioned officer is
determined to be unfit to perform the duties of his or her office, grade, or rank, the member may
be retired or separated for physical disability consistent with Chapter 61 of Title 10, U.S.C.

   c. Separation on the basis of personality disorder or other mental disorder not constituting a
physical disability is authorized only if:

        (1) An examination is made by an authorized mental health provider in accordance with
DoD Instruction 6490.04, the Diagnostic and Statistical Manual of Mental Disorders, and
Military Department procedures and the health provider concludes that the disorder is so severe
that the Service member’s ability to function effectively in the military environment is
significantly impaired.

           (a) Observed behavior of specific deficiencies should be documented in appropriate
counseling or personnel records.

           (b) Documentation will include history from supervisors, peers, and others, as
necessary, to establish that the behavior is persistent; interferes with assignment to or
performance of duty; and continued after the commissioned officer was counseled and afforded
an opportunity to overcome the deficiencies.



SECTION 9: OTHER SEPARATION REVIEW REQUIREMENTS                                                   22
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7        Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page24
                                                                                   24of
                                                                                      of28
                                                                                         28

                                                                     DoDI 1332.30, May 11, 2018
                                                                     Change 3, September 9, 2021

        (2) The commissioned officer was formally counseled in writing on deficiencies as
reflected in appropriate counseling or personnel records and has been afforded an opportunity to
overcome those deficiencies.

       (3) The commissioned officer has been counseled in writing on the diagnosis of a
personality disorder or other mental disorder not constituting a physical disability.

       (4) For commissioned officers who have served, or are currently serving in imminent
danger pay areas, a diagnosis of personality disorder or other mental disorder not constituting a
physical disability will:

           (a) Be corroborated by a peer, or higher-level, mental health professional.

           (b) Be endorsed by the Surgeon General of the Military Department concerned.

           (c) Address PTSD and other mental illness co-morbidity. A separation for
personality disorder or other mental disorder not constituting a physical disability is not
authorized if service-related PTSD is also diagnosed unless the Service member is found fit for
duty by the disability evaluation system.

       (5) For commissioned officers who have made an unrestricted report of sexual assault or
who have self-disclosed that they are a victim of a sex-related offense, an intimate partner
violence-related offense, or a spousal abuse offense during service, a diagnosis of a mental health
condition not constituting a physical disability must be:

           (a) Corroborated by a peer or higher-level mental health professional.

           (b) Endorsed by the Surgeon General of the Military Department concerned.

   d. The narrative reason for the separation, discharge, or release of a commissioned officer
when the basis of the separation, discharge, or release is a mental health condition not
constituting a physical disability must be a “condition, not a disability.” The appropriate
separation program designator code will be used in accordance with DoD Instruction 1336.01.




SECTION 9: OTHER SEPARATION REVIEW REQUIREMENTS                                                  23
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS          Document
                                    Document72-85
                                             73-7          Filed
                                                            Filed03/13/25
                                                                  03/07/25   Page
                                                                             Page25
                                                                                  25of
                                                                                     of28
                                                                                        28

                                                                    DoDI 1332.30, May 11, 2018
                                                                    Change 3, September 9, 2021

                                         GLOSSARY

G.1. ACRONYMS.

 ADL                      Active Duty List

 DFR                      dropping from the rolls

 GO/FO                    general or flag officer

 PTSD                     post-traumatic stress disorder

 RASL                     Reserve Active Status List

 SCA                      show-cause authority

 TBI                      traumatic brain injury

 U.S.C.                   United States Code


G.2. DEFINITIONS. Unless otherwise noted, these terms and their definitions are for the
purpose of this issuance.

active duty. Defined in the DoD Dictionary of Military and Associated Terms.

active status. Defined in the DoD Dictionary of Military and Associated Terms.

ADL. A single list for the Army, the Navy, the Air Force, and the Marine Corps required to be
maintained by each Military Service in accordance with Section 620 of Title 10, U.S.C.,
containing the names of all officers of that Military Service, other than officers described in
Section 641 of Title 10 U.S.C., who are serving on active duty.

Characterizations of service.

    honorable. When the quality of an officer’s service generally has met the standards of
acceptable conduct and performance of duty for military personnel or is otherwise so meritorious
that any other characterization would be clearly inappropriate, it is appropriate to characterize
that service as honorable.

     general (under honorable conditions). When an officer’s service was honest and faithful,
it is appropriate to characterize that service under honorable conditions. Characterization of
service as general (under honorable conditions) is warranted when the negative aspects of the
officer’s conduct or performance of duty outweigh positive aspects of his or her conduct or
performance of duty as documented in their service record.



GLOSSARY                                                                                      24
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-85
                                              73-7        Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page26
                                                                                   26of
                                                                                      of28
                                                                                         28

                                                                     DoDI 1332.30, May 11, 2018
                                                                     Change 3, September 9, 2021

    under other than honorable conditions. When separation is based on a pattern of behavior
that is a significant departure from the conduct expected of Service members, or when separation
is based upon one or more acts or omissions that constitute a significant departure from the
conduct expected of Service members, it is appropriate to characterize an officer’s service as
under other than honorable conditions. Examples of factors that may be considered include the
use of force or violence to produce serious bodily injury or death, abuse of a special position of
trust, disregard by a superior of customary superior-subordinate relationships, acts or omissions
that endanger the security of the United States or the health and welfare of other Service
members, and deliberate acts or omissions that seriously endanger the health and safety of other
persons.

commander. A commissioned or warrant officer who, by virtue of rank and assignment,
exercises primary command authority over a military organization or prescribed territorial area
that under pertinent official directives is recognized as a “command.”

commissioned officer. An officer in any of the Military Services who holds a grade and office
under a commission signed by the President and who is appointed as a Regular or Reserve
officer. For the purposes of this issuance, the term “commissioned officer” does not include a
commissioned warrant officer or a retired commissioned officer.

convening authority. The Secretary of the Military Department concerned or other official to
whom the authority to convene a Board of Inquiry was delegated.

counsel. A judge advocate qualified pursuant to Section 827(b) of Title 10, U.S.C., or a civilian
lawyer retained at the commissioned officer’s expense.

DFR. An administrative action that may be taken in limited circumstances that terminates a
commissioned officer’s military status along with any rights, benefits, and pay to which they
may have otherwise been entitled because of that status. DFR is distinguished from dropping
from the unit rolls, which is an administrative procedure used by the Military Services to remove
a Service member from the unit of assignment but does not end the member’s military status.

forcible sodomy. Defined in Section 925 of Title 10, U.S.C.

legal advisor. A judge advocate who is qualified in accordance with Section 827(b) of Title 10,
U.S.C., and appointed to assist a Board of Inquiry.

non-probationary commissioned officer. A commissioned officer other than a probationary
commissioned officer.

probationary commissioned officer. A commissioned officer on the ADL with fewer than
6 years of active commissioned service or a Reserve commissioned officer with fewer than
6 years of commissioned service.

rape. Defined in Section 920 (a) of Title 10, U.S.C.

RASL. A single list for each Military Service required to be maintained under Section 14002 of
Title 10, U.S.C., which contains the names of all officers of that Military Service, except warrant


GLOSSARY                                                                                          25
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS          Document
                                    Document72-85
                                             73-7        Filed
                                                          Filed03/13/25
                                                                03/07/25     Page
                                                                             Page27
                                                                                  27of
                                                                                     of28
                                                                                        28

                                                                    DoDI 1332.30, May 11, 2018
                                                                    Change 3, September 9, 2021

officers (including commissioned warrant officers), who are in an active status in a Reserve
Component of the Army, the Navy, the Air Force, or the Marine Corps, and are not on an ADL.

release from active duty. Release from full-time duty in the active military service of the
United States.

respondent. A commissioned officer required to show cause for retention on active duty.

SCA. Any of the following individuals, as determined by the Secretary of the Military
Department concerned:

    The Secretary of the Military Department concerned or officers (not below the grade of
major general or rear admiral (O-8)) designated by that Secretary to determine, based on a record
review, that an officer be required to show cause for retention in the military service.

    Commanders of reserve personnel centers, commanders exercising general court-martial
authority, and all GO/FOs in command who have a judge advocate or legal advisor available.

   For Title 10 Active Guard Reserve officers, the Directors of the Army and Air National
Guard, as applicable.

separation. A general term that includes discharge, release from active duty, release from
custody and control of the Military Services, transfer to the Individual Ready Reserve, DFR, and
similar changes in active or Reserve status.

sexual assault. Defined in Section 920(b) of Title 10, U.S.C.

show cause. What the respondent must do by a preponderance of the evidence to justify his or
her retention in the service after the government has made a prima facie showing that one or
more of the reasons for discharge in the letter of notification exist.

substance or drug misuse. Defined in DoD Instruction 1010.04.




GLOSSARY                                                                                       26
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS         Document
                                   Document72-85
                                            73-7        Filed
                                                         Filed03/13/25
                                                               03/07/25    Page
                                                                           Page28
                                                                                28of
                                                                                   of28
                                                                                      28

                                                                  DoDI 1332.30, May 11, 2018
                                                                  Change 3, September 9, 2021

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